Case 1:03-Cr-1OlQ§-q§}l`f3 W§tl§@rEl§i|gq|Mf@j®@O@qu 1 of 2 Page|D 37

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LEONARD ]ERMAIN WILLIAMS

ORDER REFUNDING CASH APPEARANCE BOND

lt appears to the Court that the above-named defendant on the 23rd day of August, 2004,
did cause a five thousand dollar ($5,000) appearance bond to be posted on his behalf by posting
10% or $500 in cash. Said $500 was receipted in the name of Tomrny Kirk, receipt #127564,
having been deposited in the Registry Fund of this Court.

It now appears to the Court that the defendant has complied With the requirements of said
bond and orders of this Court.

It is therefore ordered that the above-named defendant's appearance bond be cancelled and
discharged, and the Clerk is directed to issue a check in the sum of five hundred dollars ($500),
payable to Tommy Kirk, 4 N. Hampton Ln., Jackson, TN, 38305, in full refund of the cash

appearance bond posted herein.

Approved: %‘-U b ‘ M

] S D. TODD

 

 

RObBI'I R. Di TI‘OliO, Clerk Of COllI't U TED STATES DISTRICT JUDGE
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By: IW DATE: ?"é W M
U>M Clerk '

This document entered on the docket sheet in compliance

with Rule 55 and/or az(b) FRch on QLJ- §§ -OS'
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UNITED sTATE DISTRIC COURT - WESERNT D"'TRCT 0 TESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 1:03-CR-10105 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

 

M. Dianne Srnothers

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Jerry R. Kitchen

U.S. ATTORNEY
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Honorable J ames Todd
US DISTRICT COURT

